                                                                         Case 1:03-md-01570-GBD-SN Document
                                                                                                       EXHIBIT A
                                                                                                                 9649-2 Filed 03/15/24 Page 1 of 1
                                                                                                                                                                          SOLATIUM CLAIMS



               Personal Representative                                      Claimant                                                                           9/11 Decedent                                                                         Claim Information                                             Solatium Damages




                                                                                                         Nationality on 9/11




                                                                                                                                                                                            Nationality on 9/11
                                                                                                                                                                                                                                                                             Amend
                                                                                                                                                                                                                                                                             ments
                                                                                                                                                                                                                  Date of                                                                                                Prior




                                         Suffix




                                                                                               Suffix




                                                                                                                                                                              Suffix
#      First       Middle        Last                  First       Middle               Last                                       First          Middle           Last                                                     9/11 Site   Case             Complaint             &        Relationship   Documentation                  Amount           Treble
                                                                                                                                                                                                                  Death                                                                                                 Award
                                                                                                                                                                                                                                                                             Substit
                                                                                                                                                                                                                                                                             utions

 1                                                Joseph       Theodore        Afflitto        Jr.      US                     Daniel        Thomas        Afflitto          Sr.       US                          9/11/01 NY                  1:15-cv-09903, 676, at 1                Parent                                    $ 8,500,000.00    $ 25,500,000.00
 2                                                Dylan        S.              Chirls                   US                     Catherine     Ellen         Chirls                      US                          9/11/01 NY                  1:15-cv-09903, 275, at 10               Child                                     $ 8,500,000.00    $ 25,500,000.00
 3                                                Lauren       Vargha          Colasanti                US                     Christopher   Michael       Colasanti                   US                          9/11/01 NY                  1:15-cv-09903, 676, at 4                Child                                     $ 8,500,000.00    $ 25,500,000.00
 4                                                Cara         Elizabeth       Colasanti                US                     Christopher   Michael       Colasanti                   US                          9/11/01 NY                  1:15-cv-09903, 676, at 3                Child                                     $ 8,500,000.00    $ 25,500,000.00
 5                                                James        Henry           Connor          II       US                     James         Lee           Connor                      US                          9/11/01 NY                  1:15-cv-09903, 676, at 5                Child                                     $ 8,500,000.00    $ 25,500,000.00
 6                                                John         P.              Connor                   US                     James         Lee           Connor                      US                          9/11/01 NY                  1:15-cv-09903, 676, at 6                Child                                     $ 8,500,000.00    $ 25,500,000.00
 7                                                Lisa         T.              Dolan                    US                     Robert        E.            Dolan             Jr.       US                          9/11/01 VA                  1:15-cv-09903, 53, at 3104              Spouse                                    $ 12,500,000.00   $ 37,500,000.00
 8                                                Rebecca      Leigh           Dolan                    US                     Robert        E.            Dolan             Jr.       US                          9/11/01 VA                  1:15-cv-09903, 676, at 8                Child                                     $ 8,500,000.00    $ 25,500,000.00
 9                                                Robert       E.              Dolan           III      US                     Robert        E.            Dolan             Jr.       US                          9/11/01 VA                  1:15-cv-09903, 676, at 7                Child                                     $ 8,500,000.00    $ 25,500,000.00
10                                                Marion       Elaine          Donovan                  US                     Jacqueline                  Donovan                     US                          9/11/01 NY                  1:15-cv-09903, 53, at 2489              Parent                                    $ 8,500,000.00    $ 25,500,000.00
11 Patrice                  Kelleher              James        T.              Donovan                  US                     Jacqueline                  Donovan                     US                          9/11/01 NY                  1:15-cv-09903, 53, at 2488              Parent                                    $ 8,500,000.00    $ 25,500,000.00
12 Edward                   Flanders              Patricia     E.              Flanders                 US                     Vincent       D.            Kane              Jr.       US                          9/11/01 NY                  1:15-cv-09903, 53, at 1315              Sibling                                   $ 4,250,000.00    $ 12,750,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 1113,
13 Barbara        A.        Geidel                Ralph        William         Geidel          Sr. US                          Gary          Paul          Geidel                      US                          9/11/01 NY                  9621 at 3                               Sibling                                   $    4,250,000.00 $ 12,750,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 1429,
14                                                Marie        Scotto          Giordano                 US                     Jeffrey                     Giordano                    US                          9/11/01 NY                  4778 at 3                               Spouse                                    $ 12,500,000.00   $ 37,500,000.00
15                                                Antonio      Jose            Guadalupe                US                     Jose          Antonio       Guadalupe                   US                          9/11/01 NY                  1:15-cv-09903, 676 at 9                 Child                                     $ 8,500,000.00    $ 25,500,000.00
16                                                James        Lawrence        Hopper                   US                     James         P.            Hopper                      US                          9/11/01 NY                  1:15-cv-09903, 676 at 10                Child                                     $ 8,500,000.00    $ 25,500,000.00
17                                                Carolyn      Alysa           Koestner                 US                     Frank         J.            Koestner                    US                          9/11/01 NY                  1:15-cv-09903, 676 at 11                Child                                     $ 8,500,000.00    $ 25,500,000.00
18                                                Megan        Kathleen        Maloney                  US                     Joseph        Edward        Maloney                     US                          9/11/01 NY                  1:15-cv-09903, 676 at 13                Child                                     $ 8,500,000.00    $ 25,500,000.00
19                                                Joseph       Eric            Maloney                  US                     Joseph        Edward        Maloney                     US                          9/11/01 NY                  1:15-cv-09903, 676 at 12                Child                                     $ 8,500,000.00    $ 25,500,000.00
20                                                Kathleen                     Maloney                  US                     Joseph        Edward        Maloney                     US                          9/11/01 NY                  1:15-cv-09903, 53, at 3340              Spouse                                    $ 12,500,000.00   $ 37,500,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 1543,
21 Patricia                 McKenna               Agnes        Jane            McKenna                  US                     Stephanie     Marie         McKenna                     US                          9/11/01 NY                  9621 at 3                               Parent                                    $ 8,500,000.00    $ 25,500,000.00
22                                                Lynn         Ann             Pescherine               US                     Michael       John          Pescherine                  US                          9/11/01 NY                  1:15-cv-09903, 53, at 850               Spouse                                    $ 12,500,000.00   $ 37,500,000.00
23                                                Ryan         Michael         Pescherine               US                     Michael       John          Pescherine                  US                          9/11/01 NY                  1:15-cv-09903, 676 at 14                Child                                     $ 8,500,000.00    $ 25,500,000.00
24                                                Alexander    Jordan Selwyn   Rosenblum                US                     Howard                      Selwyn                      US                          9/11/01 NY                  1:15-cv-09903, 676 at 17                Child                                     $ 8,500,000.00    $ 25,500,000.00
25                                                James        Edward          Sabella                  US                     Thomas        E.            Sabella                     US                          9/11/01 NY                  1:15-cv-09903, 676 at 15                Child                                     $ 8,500,000.00    $ 25,500,000.00
26                                                Nicole       Jean            Sabella                  US                     Thomas        E.            Sabella                     US                          9/11/01 NY                  1:15-cv-09903, 676 at 16                Child                                     $ 8,500,000.00    $ 25,500,000.00
27                                                Kelsie       Marie           Scofield                 US                     Glenn         E.            Wilkinson                   US                          9/11/01 NY                  1:15-cv-09903, 676 at 18                Child                                     $ 8,500,000.00    $ 25,500,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 2183,
28 Severino       Rogan     Tamayo       Jr.      Severino     Yabut           Tamayo          Sr. US                          Hector        R.            Tamayo                      US                          9/11/01 NY                  9621 at 3                               Parent                                    $ 8,500,000.00 $ 25,500,000.00
29                                                Ana          Maria           Tempesta            US                          Anthony                     Tempesta                    US                          9/11/01 NY                  1:15-cv-09903, 53, at 485               Spouse                                    $ 12,500,000.00 $ 37,500,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 1662,
30 Jason          Reed      Tieste                Ronald       Bruce           Tieste                   US                     William       R.            Tieste                      US                          9/11/01 NY                  9621 at 3                               Sibling                                   $    4,250,000.00 $ 12,750,000.00
31                                                Jasmyn       Alexandria      Troy                                            Willie        Quincey       Troy                                                                                1:15-cv-09903, 683 at 3                 Child                                     $    8,500,000.00 $ 25,500,000.00
                                                                                                                                                                                                                                               1:15-cv-09903, 53, at 2109,
32 Leonard                  Vollkommer            Christine                    Vollkommer               US                     Robert        W.            Spear             Jr.       US                          9/11/01 NY                  9621 at 3                               Sibling                                   $    4,250,000.00 $ 12,750,000.00




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